Case 6:11-cr-00055-RTH-PJH   Document 92   Filed 11/21/11   Page 1 of 7 PageID #:
                                    341
Case 6:11-cr-00055-RTH-PJH   Document 92   Filed 11/21/11   Page 2 of 7 PageID #:
                                    342
Case 6:11-cr-00055-RTH-PJH   Document 92   Filed 11/21/11   Page 3 of 7 PageID #:
                                    343
Case 6:11-cr-00055-RTH-PJH   Document 92   Filed 11/21/11   Page 4 of 7 PageID #:
                                    344
Case 6:11-cr-00055-RTH-PJH   Document 92   Filed 11/21/11   Page 5 of 7 PageID #:
                                    345
Case 6:11-cr-00055-RTH-PJH   Document 92   Filed 11/21/11   Page 6 of 7 PageID #:
                                    346
Case 6:11-cr-00055-RTH-PJH   Document 92   Filed 11/21/11   Page 7 of 7 PageID #:
                                    347
